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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION
                                              www.flsb.uscourts.gov

 In re: Mary Thomas Baxter                                 Case No: 23-10480-PGH
                                                           Chapter 13
                        Debtor(s)      /


               MOTION TO VALUE AND DETERMINE SECURED STATUS OF LIEN ON
                                REAL PROPERTY

                                   IMPORTANT NOTICE TO CREDITORS:
                             THIS IS A MOTION TO VALUE YOUR COLLATERAL

         This Motion seeks to value collateral described below securing the claim of the
         creditor listed below.


           IF YOU DISPUTE THE VALUE ALLEGED OR TREATMENT OF YOUR CLAIM
           PROPOSED IN THIS MOTION, YOU MUST FILE A WRITTEN OBJECTION NO
           LATER THAN TWO BUSINESS DAYS PRIOR TO THE SCHEDULED HEARING
                             [SEE LOCAL RULE 3015-3(A)(2)]


         If you have not filed a proof of claim, you have until the later of the claims bar date
         or 21 days from the date this Motion was served upon you to file a proof of claim
         or you will be deemed to have waived the right to payment of any unsecured claim
         to which you might otherwise be entitled. [See Local Rule
         3015-3(A)(4)]

 1.      Pursuant to 11 U.S.C. §506, Bankruptcy Rule 3012, and Local Rule 3015-3, the debtor seeks
         to value real property securing the claim of AXIOM FINANCIAL (the “Lender”). Lender holds
         a mortgage recorded at OR Book           25081 Page 0320-326 in the official records of
         Miami-Dade County, Florida.

 2.      The real property is located at 13401 SW 265 Ter, Homestead, FL 33032               , and is more
         particularly described as follows:

           Lot 12, Block 4, Tallamoody Amended, according to the Plat thereof, as recorded in
            Plat Book 67, at Page 40, of the Public Records of Miami-Dade County, Florida.

 3.      At the time of the filing of this case, the value of the real property is $ 227,191.00   as
         determined by Debtor’s Valuation.

 4.       Citigroup Mortgage Loan Trust, Inc. hold liens on the real property, senior to priority to
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         Lender, securing claims in the aggregate amount of $ 534,727.19.

 5.      (Select only one):

          X      Lender’s collateral consists solely of the debtor’s principal residence. As there
                 is no equity in the real property after payment in full of the claims secured by
                 liens senior to that of Lender, the value of Lender’s secured interest in the real
                 property is $0.

                 Lender’s collateral is not solely the debtor’s principal residence. After payment
                 in full of the claims secured by liens senior to that of Lender, there is equity of $
                                                       remaining in the real property. Accordingly,
                 the value of Lender’s secured interest in the real property
                 is $         and the value of the Lender’s unsecured, deficiency claim is
                 $                .

 6.      The undersigned reviewed the docket and claims register and states (select only one):

                 Lender has not filed a proof of claim in this case. The trustee shall not disburse
                 any payments to Lender unless a proof of claim is timely filed. In the event a
                 proof of claim is timely filed, it shall be classified as a secured claim to the extent
                 provided in paragraph 5, above, and as a general unsecured claim for any
                 deficiency, regardless of the original classification in the proof of claim as filed.

                                                  or

          X      Lender filed a proof of claim in this case. It shall be classified as a secured claim
                 to the extent provided in paragraph 5, above, and as a general unsecured claim
                 for any deficiency, regardless of the original classification in the proof of claim.

 7.      The subject real property may not be sold or refinanced without proper notice and
         further order of the court.

        IF THE MOTION TO VALUE STRIPS OFF THE LIEN: WHEREFORE, the debtor respectfully
 requests an order of the Court (a) determining the value of the real property in the amount asserted in
 this Motion, (b) determining the secured status of the Lender’s lien as stated above, (c) determining that
 any timely filed proof of claim is classified as stated above, (d) a s Lender’s secured interest in the
 real property is $0, deeming Lender’s mortgage on the real property void and extinguished
 automatically, without further order of the Court, upon entry of the debtor’s discharge in this chapter
 13 case, and (e) providing such other and further relief as is just.

 NOTICE IS HEREBY GIVEN THAT:

 1.      In accordance with the rules of this Court, unless an objection is filed with the Court and served
         upon the debtor, the debtor’s attorney, and the trustee at least two (2) business days prior to
         the hearing scheduled on this Motion, the value of the collateral may be established at the
         amount stated above without further notice, hearing or order of the Court. Pursuant to Local Rule
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         3015-3, timely raised objections will be heard at the hearing scheduled on the Motion.

 2.      The undersigned acknowledges that this Motion and the notice of hearing thereon must be
         served pursuant to Bankruptcy Rule 7004 and Local Rule 3015-3 at least 21 days prior to the
         hearing date and that a certificate of service must be filed when the Motion and notice of hearing
         thereon are served.
                                     Respectfully Submitted:
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